     Case 16-24825-JAD Doc 72-1 Filed 02/22/18 Entered 02/22/18 13:57:14                                              Desc
                    Exhibit A - ALTA Settlement Statement Page 1 of 4



American Land Title Association                                                             ALTASettlement Statement-Combined
                                                                                                               Adopted 05-01-2015




File No./EscrowNo.: 17502
Print Date & Time; 2/20/2018 9:44:01 Al^l
Officer/Escrow Officer: AViOSETTLEMENT, INC
Settlement Ucation: 410 ROUSER ROAD SUITE 402 MOON TOWNSHIP, PA 15108




Propeny Address: 622 Bsscom Avenue Pittsburgh, PA 15212
Buyer Merle Kent Moorhead, II and Sharon A. Moorhead
        855 Benton Avenue Pittsburgh, PA15212
Seller; Natalie Lut: Cardiello, BK Trustee for the Estate of John W. Sorensen and Cambria L Sorensen
        107 Huron Drive Carnegie, PA1S106
Lender: Victorian Finance, LLC
         2570 Boyce Plaza Road Pittsburgh, PA 15241
rype of i^an: Conventional LoanS: 1801218400 MICfl:
Settlement Date: 2/21/2018
Disbursement Date; 2/21/2018



                 Seller                      *     '•    . ;   •'     " Desd-Iption .;'                   Borrower/Buyer       -
                           Credit'
                                             Financial
                          $170,000,001 Sales Price of Property                                         $170,000,0
                                             Deposit including earnest money                                             $8,500.0
                                             Loan Amount                                                               $161,500.


                                             Prorations/Adjustments
        51,000.                              3rd MTG. PAYOFF -PHFA

                                   m\Assessments from 2/21/2012 to 6/30/2018
            $54.83                 •I atyAown Taxesfrom 1/1/2018 to 2/21/2018
                                   m tCountyTaxes from 2/21/2018 to 12/31/2018
                               $S17.94|

                                             Loan Charges to Victorian Finance. LLC
                                             2570 Boyce Plaza Road Pittsburgh, PA 15241
                                             Prepaid interest from 2/21/2018 to 3/1/2018                  $
                                             Processing Fee to Victorian Finance                          $995.0
                                             Underwriting Fee to Victorian Finance                        $110.0


                                             Other Loan Charges
                                             Credit Report Fee to Lender

                                             Impounds
                                             Aggregate Adjustment                                         -SS74.6
                                             COUNTY TAX Imo (5)S50.33/mo                                      $50.3
                                             Homeowner's Insurance 2mo @ $64.S8/mo                         $129.1
                                             LOCAL TAX 8mo @ S32.70/mo                                     $261.6



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Mii|liU (ouvca.                                                         Page 1 of 3                Printed on 2/20/2018 at 9:44 AM
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                   Exhibit A - ALTA Settlement Statement Page 2 of 4



                                SCHOOLTAX 8mo@$207.68/mo                                            $1,6614<

                                Title CtniBes & Escrew / Settlement Owiges
                                Title • Qosing Protection Ur to                                       $125i}C
                                Chicago Title
                                Title • Document Prep Fee to                                           $95.00
                                    AVID SETTLEMENT
                                Title - Lender^ Endorsements: to                                      $150.0C
                                    AViO SETTLEMENT (100/300/900)
                                Title • Lender'sTitle Insurance($161^.00) to                        $137840
                                AVIDSETTLEMENT
                                Title-Notary Fee to                                                    $15.00
                                    AVID SETTLEMENT
                                Title - Ownei's Title Insurance(optional)($170,000.00) to              $45.6C
                                    AVIDSEHLEMENT
                                    Title - Settlement Fee to                                         $150.00
        $150.QC
                                    AVIDSEmEMENT


                                    Commission
      $3^00.0C                      iteal Estate COmntisslon to Achieve Realty                        $345iKI
      $3^JIC                        Real Estate Commission to BKGlobal Real Estate
      $3^0.0(                       Real Estate Commission to ColdweO Banicer

                                    Government Recordingand UransferCharges
                                    Record Deed: to Dept of RealEstate                                $166.75
                                    Record Mortsage: to Dept of Real Estate                           $166.75
        $85000                      TransferTm Deed Countyto Qty/County                               $85000
        $85000                      Tlansfer lax State Deed to State of Pennsylvania                  $850.00

                                    PayofKs)
    $148,208.17                     Payoff of Fiist Mortsase Loan
                                      Principal Balance 0
                                          Interest on Payoff Loan ()
                                         Additional Payofffees ($0.00)

      $1,475.10                     Payoffof Second Mortgage Loan
                                      Principal Balance ()
                                          Interest on Payoff Loan ()
                                         Additional Payofffees ($0.00)


        $111.2!                     2018 county Dm (114^270) to ALLEGHENY COUfnVTREASURER
        $492.74                     2018 county Tin (114-B-272) to ALLEGHENY COUNTY TREASURER
                                    Banicruptcy Estate Fee to CourtOrder Bankruptcy Estate
      $7.600XC
                                    Distribution
         $2331                      Est Final Sewage (Sorenson) to JORDAN 1AX SERVICE
         $2331                      Est Final Sewer (Roberts) to JORDAN VOISERVICE
                                    Homeowner^ Insurance Premium to ERIE INSURANCE                    $775.00
        $360JK                      Uen Letters/Tte certs to AVID SETTLEMENT




CBppumwsiuiufiaateidroitwiomtiaiL                                                                                File #17502
                                                                Page 2 of3                      Printed on2/2Q/2018at9:44AM
    Case 16-24825-JAD Doc 72-1 Filed 02/22/18 Entered 02/22/18 13:57:14          Desc
                   Exhibit A - ALTA Settlement Statement Page 3 of 4



    Debit-.   .     CKdtt.          ••




   $17U98.71       $171,398.71                Subtotal           $179,333.11    $170,05483
                                         Due From/ToBorrower           $0M        $9,278.28
         $000             $001            Due From/ToSeOer
                                               Totak




Ceefi^lOlSAnwIcteUndTiUeAiedtiea.                                                  File #17507
MfUhttfCMIWd.                                 Page3of3         Printed on 2/20/2018 at 9:44 AM
    Case 16-24825-JAD Doc 72-1 Filed 02/22/18 Entered 02/22/18 13:57:14                                                            Desc
                   Exhibit A - ALTA Settlement Statement Page 4 of 4

                                               ALTA Settlement Statement Acknowledgment



Buyer:                      Merle Kent Moorhead, II and Sharon A. Moorhead
                            8S5 Benton Avenue Pittsburgh, PA1S212
Seller;                     Natalie Lutz Cardiello, BK Trustee for the Estate of John W. Sorensen and Cambria L Sorensen
                            1D7 Huron Drive Carnegie, PA 1510B
Lender:                     Victorian Finance, LLC
                            2S70 Boyce Plaza Road Pittsburgh, PA 15241
Seniement Agent:            AVIO SETTLEMENT, INC.
Settlement Location:        410 ROUSER ROAD SLJITE 402 MOON TOWNSHIP, PA 15108
Loan Information:           Type of Loan: Conventional Loan (t: 1801218400 MICH:
Settlement Date:            2/21/2018
Disbursement Date:          2/21/2018
Property Address:           622 Bascom Avenue Pittsburgh, PA 15212

We/I have carefully reviewed the ALTA Settlement Statement prepared by AVID SETTLEMENT, INC. and find it to be a true and
accurate statementof allreceipu and disbursements made on myaccount or byme in this transaction and furthercertify that Ihave
received a copy of the ALTA SettlementStatement We/I authorize AVID SETTLEMENT, INC. to cause the funds to be disbursed In
accordance with this statement


                                                                           Natalie Lutz Cardiello. BKTrusiee
                                                                                      for the Estate of John




 Merle Kent Mooriiead, II                                   Borrower       Natalie Lutz Cardleilft-Trustae-J




 Sharon A. Mooi lead                                        Borrokver




                                        AVIDSETTLEMENT, INC.




                                   •—Cheryl taney
WARNING: Is it a crimeto knowlnsly makefalse staiemeots^ajtie United                          Imilar             ties upon conviction can Include
a fine and Imprlsonement. For details see: Title 16 U.S.Code Section lOQl and                                                        File S17502
                                                                  Page 1 of 1                                  Printed on 2/20/2018 at 9.44 AM
